Case 24-50512-grs Doc 28 Filed 05/14/24 Entered 05/14/24 12:06:31 Desc Main

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Debtor 4 Donald Anthony Fitzpatrick

First Name Middle Name Last Name
Debtor 2 Ashley Louise Fitzpatrick
(Spouse if, filing) First Name Middle Name Last Name

United States Bankruptcy Court forthe: EASTERN DISTRICT OF KENTUCKY

Case number 24-50512-grs
(if known) O Check if this is an
amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).

1. Do any creditors have claims secured by your property?
C1 No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.

IB Yes. Fill in all of the information below.

Gene hae List All Secured Claims

. . . _ . Column A Column B Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As Amount of claim Value of collateral Unsecured
much as possible, list the claims in alphabetical order according to the creditor's name Do not deduct the that supports this portion
value of collateral claim If any
2.1 Ally Financial Describe the property that secures the claim: $105,935.00 $110,000.00 $0.00
Creditors Name 2024 GMC Sierra
As of the date you file, the claim is: Check all that
P.O. Box 8133 apply
Cockeysville, MD 21030 a Contingent
Number, Street, City, State & Zip Code a Unliquidated
I Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
DO Debtor 1 only ll an agreement you made (such as mortgage or secured
DO Debtor 2 only car loan)
WF bebtor 1 and Debtor 2 only 0 Statutory lien (such as tax lien, mechanic's lien)

CO Atleast one of the debtors and another 1 Judgment lien from a lawsuit
C1 Check if this claim relates to a DO other (including a right to offset)
community debt

Date debt was incurred 5/2023 Last 4 digits of account number 9601

Official Form 106D Schedule D: Creditors Who Have Claims Secured by Property page 1 of 5
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Debtor 1 Donald Anthony Fitzpatrick Case number (itknown) —--24-50512-grs
First Name Middle Name Last Name
Debtor2 Ashley Louise Fitzpatrick
First Name Middle Name Last Name
2.2 Bank of America Describe the property that secures the claim: $97,400.00 $95,000.00 $2,400.00
Creditor's Name 2023 Cadillac

| —_——__- +4
As of the date you file, the claim is: Check all that

P.O. Box 982234 apply

El Paso, TX 79998 a Contingent

Number, Street, City, State & Zip Code Bi unliquidated

a Disputed

Who owes the debt? Check one. Nature of lien. Check all that apply.
C1 Debtor 1 only Ban agreement you made (such as mortgage or secured
O Debtor 2 only car loan)
I pebtor 1 and Debtor 2 only C1 Statutory lien (such as tax lien, mechanic's lien)

CO atleast one of the debtors and another Judgment lien from a lawsuit

OO Check if this claim relates to a (1 other (including a right to offset)
community debt

Date debt was incurred 6/2023 Last 4 digits of account number 9304
12.3 ‘ Bank of America Describe the property that secures the claim: $42,410.00 $42,000.00 $410.00
eeiixeneme 2019 Toyota Tundra

As of the date you file, the claim is: Chack al! that

P.O. Box 31785 apply

Tampa, FL 33631-3785 B contingent

Number, Street, City, State & Zip Code a Unliquidated

 pisputed

Who owes the debt? Check one. Nature of lien. Check all that apply.
1 Debtor 1 only WB an agreement you made (such as mortgage or secured
O Debtor 2 only car loan)
WB pebtor 1 and Debtor 2 only Oo Statutory lien (such as tax lien, mechanic's lien)

C1 At least one of the debtors and another = Judgment lien from a lawsuit

OD Check if this claim relates to a OD other (including a right to offset)
community debt

Date debt was incurred Last 4 digits of account number
12.4 Community Trust Bank Describe the property that secures the claim: $45,865.43 $20,000.00 $25,865.43
Creditor’s Name 2020 Chevy Silverado
Le
As of the date you file, the claim is: Check all that
P.O. Box 2947 apply.
Pikeville, KY 41501 a Contingent
Number, Street, City, State & Zip Code Mi Untiquidated
a Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
C1 Debtor 1 only MM An agreement you made (such as mortgage or secured
O1 Debtor 2 only car loan)
WB pebtor 4 and Debtor 2 only Oo Statutory lien (such as tax lien, mechanic's lien)

C1 Atleast one of the debtors and another Judgment lien from a lawsuit
U1 Chectk if this claim relates to a 0 other (including a right to offset)
community debt

Date debt was incurred 6/2023 Last 4 digits of accountnumber 0943

Official Form 106D Additional Page of Schedule D: Creditors Who Have Claims Secured by Property page 2 of 5
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Debtor 1 Donald Anthony Fitzpatrick Case number (if known)
First Name Middle Name Last Name
Debtor2 Ashley Louise Fitzpatrick
First Name Middle Name Last Name

2.5 :Community Trust Bank

Creditor's Name

P.O. Box 2947
Pikeville, KY 41501

Number, Street, City, State & Zip Code

Who owes the debt? Check one.

O Debtor 1 only

O Debtor 2 only

 pebtor 1 and Debtor 2 only

CO At least one of the debtors and another

O Check if this claim relates to a
community debt

Date debt wasincurred 1/24

26 Huntington National
~_ Bank

Creditors Name

P.O. Box 340996
Columbus, OH 43234

Number, Street, City, State & Zip Code

Who owes the debt? Check one.

C1 Debtor 1 only

O Debtor 2 only

WH Debtor 1 and Debtor 2 only

0 At least one of the debtors and another

CO Check if this claim relates to a
community debt

Date debt was incurred 8/2021

Official Form 106D

Describe the property that secures the claim:

$10,875.25

24-50512-grs

$12,000.00

, 2000 Pontiac 2FV87

As of the date you file, the claim is: Check all that
apply

a Contingent

B Unliquidated

O Disputed

Nature of lien. Check all that apply

a An agreement you made (such as mortgage or secured
car loan)

oO Statutory lien (such as tax lien, mechanic's lien)

O Judgment lien from a lawsuit

0 other {including a right to offset)

Last 4 digits of account number

$28,007.00

Describe the property that secures the claim:

Automobile - DEBTOR WILL
SUPPLEMENT

“As of the date you file, the claim is: Check all that
apply
Oo Contingent
OD unliquidated
O disputed
Nature of lien. Check all that apply.

O an agreement you made (such as mortgage or secured
car loan)

O Statutory lien (such as tax lien, mechanic's lien)

oO Judgment lien from a lawsuit
D other (including a right to offset)

Last 4 digits of account number

1994

Additional Page of Schedule D: Creditors Who Have Claims Secured by Property

Unknown

$0.00

Unknown

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Debtor 1 Donald Anthony Fitzpatrick
Middle Name

First Name

Debtor2 Ashley Louise Fitzpatrick

First Name

27 Members Heritage Credit
'__ Union
Creditors Name

440 Park Place
Lexington, KY 40505

Number, Street, City, State & Zip Code

Who owes the debt? Check one.

CO Debtor 1 only

C1 Debtor 2 only

a Debtor 1 and Debtor 2 only

CO Atleast one of the debtors and another

C Check if this claim relates to a
community debt

Date debt was incurred 5/2021

Members Heritage Credit

Union
Creditors Name

440 Park Place
Lexington, KY 40505

Number, Street, City, State & Zip Code

Who owes the debt? Check one.
O Debtor 1 only
D1 Debtor 2 only

a Debtor 1 and Debtor 2 only

TZ At least one of the debtors and another

OD check if this claim relates to a
community debt

Date debt was incurred

Official Form 106D

Middle Name

Document Page4of5
Case number (if known)
Last Name
Last Name

$5,842.00

Describe the property that secures the claim:
2016 Hyundai

As of the date you file, the claim is: Check all that
apply

a Contingent

HB unliquidated

a Disputed

Nature of lien. Check all that apply.

a An agreement you made (such as mortgage or secured
car loan)

oO Statutory lien (such as tax lien, mechanic's lien)

OD Judgment lien from a lawsuit

OD other (including a right to offset)

Last 4 digits of accountnumber 2200

$18,728.00

Describe the property that secures the claim:

2021 Keystone 32BH

Camper

As of the date you file, the claim is: Check all that
apply

O Contingent

0 unliquidated

O Disputed

Nature of lien. Check all that apply.

Olan agreement you made (such as mortgage or secured
car loan)

O Statutory lien (such as tax lien, mechanic's lien)

Oo Judgment lien from a lawsuit
O other (including a right to offset)

Last 4 digits of account number 2801

Additional Page of Schedule D: Creditors Who Have Claims Secured by Property

24-5051 2-grs

Unknown

$10,000.00

Unknown

$8,728.00

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Debtor 1 Donald Anthony Fitzpatrick
Middle Name

First Name

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Last Name

Debtor2 Ashley Louise Fitzpatrick

First Name

2 g | Mercedes Benz Financial

. | =
Services
Creditor's Name

P.O. Box 5209
Carol Stream, IL 60197

Number, Street, City, State & Zip Code

Who owes the debt? Check one.

O Debtor 1 only

O Debtor 2 only

D1 Debtor 1 and Debtor 2 only

B at least one of the debtors and another

OO Check if this claim relates to a
community debt

Date debt was incurred 9/2022

2.1
0 = Select Portfolio Services
Creditors Name

P.O. Box 65250
Salt Lake City, UT 84165

Number, Street, City, State & Zip Code

Who owes the debt? Check one.
O Debtor 1 only

CO Debtor 2 only

WB bebtor 1 and Debtor 2 only

D Atleast one of the debtors and another

0 Check if this claim relates to a
community debt

Date debt was incurred

Add the dollar value of your entries in Column A on this page. Write that number here:
If this is the last page of your form, add the dollar value totals from all pages.

Write that number here:

Middle Name

Last Name

$119,222.00

Describe the property that secures the claim:

2022 Mercedes S580V4

As of the date you file, the claim is: Check all that
apply

a Contingent

BF Uniiquidated

O Disputed

Nature of lien. Check all that apply.

Ban agreement you made (such as mortgage or secured
car loan)

O Statutory lien (such as tax lien, mechanic's lien)

Oo Judgment lien from a lawsuit

0 Other (including a right to offset)

Last 4 digits of accountnumber 9001

$331,366.00

Describe the property that secures the claim:

1152 Red Lick Road Berea, KY
40403 Madison County

As of the date you file, the claim is: Check all that

apply.

a Contingent

BB unliquidated

Oo Disputed

Nature of lien. Check all that apply.

Ban agreement you made (such as mortgage or secured
car loan)

O Statutory lien (such as tax lien, mechanic's lien)

oO Judgment lien from a lawsuit

OO other (including a right to offset)

Last 4 digits of accountnumber 4423

List Others to Be Notified for a Debt That You Already Listed

Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any

debts in Part 1, do not fill out or submit this page.

Official Form 106D

Additional Page of Schedule D: Creditors Who Have Claims Secured by Property

Case number (if known)

24-5051 2-grs

$85,000.00

$337,500.00

$805,650.68
$805,650.68

$34,222.00

$0.00

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